               Case 3:21-cv-01182-JCS Document 11 Filed 03/18/21 Page 1 of 8

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                 Case 3:21-cv-01182-JCS Document 11 Filed 03/18/21 Page 5 of 8


March 11, 2021

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7020 1810 0000 6030 7575.

Item Details

Status:                                                 Delivered, Front Desk/Reception/Mail Room
Status Date / Time:                                     March 11, 2021, 11:02 am
Location:                                               WASHINGTON, DC 20018
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 10.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
                 Case 3:21-cv-01182-JCS Document 11 Filed 03/18/21 Page 6 of 8


March 11, 2021

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7020 1810 0000 6030 7582.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date / Time:                                     March 10, 2021, 11:53 am
Location:                                               WASHINGTON, DC 20240
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 10.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
                 Case 3:21-cv-01182-JCS Document 11 Filed 03/18/21 Page 7 of 8


March 18, 2021

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7020 1810 0000 6030 7599.

Item Details

Status:                                                 Delivered, Left with Individual
Status Date / Time:                                     March 17, 2021, 12:34 pm
Location:                                               SAN FRANCISCO, CA 94102
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 10.0oz
Destination Delivery Address

Street Address:                                         450 GOLDEN GATE AVE
City, State ZIP Code:                                   SAN FRANCISCO, CA 94102-3661
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
                 Case 3:21-cv-01182-JCS Document 11 Filed 03/18/21 Page 8 of 8


March 4, 2021

Dear Cynthia Elkins:

The following is in response to your request for proof of delivery on your item with the tracking number:
7020 1810 0000 6030 7605.

Item Details

Status:                                                 Delivered
Status Date / Time:                                     March 2, 2021, 4:56 am
Location:                                               WASHINGTON, DC 20530
Postal Product:                                         First-Class Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
Shipment Details

Weight:                                                 10.0oz
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
